







THIS OPINION HAS NO PRECEDENTIAL VALUE.&nbsp; IT SHOULD NOT BE CITED OR RELIED ON AS PRECEDENT IN ANY PROCEEDING EXCEPT AS PROVIDED BY RULE 239(d)(2), SCACR.
THE STATE OF SOUTH CAROLINA
In The Court of Appeals


  
    
      
        The State, Respondent,
        v.
        Richard G. Jordan, Appellant.
      
    
  


Appeal From Richland County
G. Thomas Cooper, Jr., Circuit Court Judge

Unpublished Opinion No. 2007-UP-216
Submitted May 1, 2007  Filed May 11, 2007

APPEAL DISMISSED


  
    
      
        Assistant Appellate Defender Aileen P. Clare, of Columbia, for Appellant.
        Attorney General Henry Dargan McMaster, Chief Deputy Attorney General John W. McIntosh, Assistant Deputy Attorney General Salley W. Elliott; and Solicitor Warren Blair Giese, all of Columbia, for Respondent.
      
    
  

PER CURIAM:&nbsp; Richard Jordan appeals his convictions and sentences for trafficking in methamphetamine and possession with intent to distribute methamphetamine.&nbsp; Counsel for Jordan attached to the final brief a petition to be relieved as counsel.&nbsp; Jordan filed a separate pro se response.
After a review of the record as required by Anders v. California, 386 U.S. 738 (1967), and State v. Williams, 305 S.C. 116, 406 S.E.2d 357 (1991), we hold there are no directly appealable issues that are arguable on their merits.&nbsp; Accordingly, we dismiss Jordans appeal and grant counsels petition to be relieved.[1]
APPEAL DISMISSED.
STILWELL, SHORT, and WILLIAMS, JJ., concur.&nbsp;

[1] We decide this case without oral argument pursuant to Rule 215, SCACR.

